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                            Exhibit 19
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2016 FLORIDA PROFIT CORPORATION ANNUAL REPORT                        FILED
DOCUMENT# P09000064327                                            Feb 23, 2016
Entity Name: WEBZILLA INC.                                     Secretary of State
                                                                 CC6838461702
Current Principal Place of Business:
2777 STEMMONS FWY.
 SUITE 1655
DALLAS, TX 75207


Current Mailing Address:
2777 STEMMONS FWY.
SUITE 1655
DALLAS, TX 75207 US

FEI Number: NOT APPLICABLE                                                                                                   Certificate of Status Desired: Yes
Name and Address of Current Registered Agent:
INCORPORATE NOW
6750 N. ANDREWS AVE.
SUITE 200
FORT LAUDERDALE, FL 33309 US

The above named entity submits this statement for the purpose of changing its registered office or registered agent, or both, in the State of Florida.

SIGNATURE:
                           Electronic Signature of Registered Agent                                                                                                                Date

Officer/Director Detail :
Title                  D                                                                               Title                  D
Name                   MISHARA, RAJESH KUMAR                                                           Name                   BEZRUCHENKO, KOSTYANTYN
Address                2777 STEMMONS FWY.                                                              Address                2777 STEMMONS FWY.
                        SUITE 1655                                                                                             SUITE 1655
City-State-Zip:        DALLAS TX 75207                                                                 City-State-Zip:        DALLAS TX 75207




I hereby certify that the information indicated on this report or supplemental report is true and accurate and that my electronic signature shall have the same legal effect as if made under
oath; that I am an officer or director of the corporation or the receiver or trustee empowered to execute this report as required by Chapter 607, Florida Statutes; and that my name appears
above, or on an attachment with all other like empowered.

SIGNATURE: MISHARA , RAJESH KUMAR                                                                                       D                                                   02/23/2016
                        Electronic Signature of Signing Officer/Director Detail                                                                                                   Date
